










Opinion issued August 13, 2009











In The
Court of Appeals
For The
First District of Texas




NO. 01–09–00313–CV




ALYSON COX, Appellant

V.

NATIONAL CREDIT ACCEPTANCE, INC., Appellee




On Appeal from the 270th District Court
Harris County, Texas
Trial Court Cause No. 2008-04084




MEMORANDUM OPINIONAppellant Alyson Cox has neither established indigence, nor paid or made
arrangements to pay the clerk’s fee for preparing the clerk’s record.  See Tex. R. App.
P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing dismissal
of appeal if no clerk’s record filed due to appellant’s fault).  After being notified that
this appeal was subject to dismissal, appellant Alyson Cox did not adequately
respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
&nbsp;
PER CURIAM
Panel consists of Justices Jennings, Alcala, and Higley.


